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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

FREE SPEECH FOUNDATION,
INC. and JOSEPH GILBERT, an
Arizona nonprofit corporation,

       Plaintiffs,

v.                                          Case No.:      2:22-cv-714-SPC-NPM

SIMONE GOLD,

     Defendant,
___________________________/

          DEFENDANT’S UNOPPOSED MOTION TO APPEAR
       TELEPHONICALLY AT THE NOVEMBER 18, 2022 HEARING

       COMES NOW, Defendant, Simone Gold (“Dr. Gold”), by and through

undersigned counsel, and hereby moves this Court for an order permitting Dr. Gold’s

counsel1 to appear by telephone or video for the status conference scheduled on

November 18, 2022 at 10:30 a.m.

       A one-time scheduling conflict necessitates this Motion. All of Dr. Gold’s

counsel has preexisting travel arrangements to Dickinson Wright PLLC’s annual

business meetings in Austin, Texas from November 17, 2022 to November 20, 2022,



1
  Two additional attorneys, Bradley A. Burns, Esq. and Amanda E. Newman, Esq., from Dickinson
Wright PLLC will file Motions for Special Admission to the Middle District of Florida for this
case, because they are both out-of-state counsel. However, they will also be attending Dickinson
Wright PLLC’s annual business meeting in Austin, Texas on November 18, 2022 and attending
the hearing in person would present a burden by forcing them to miss the event.
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with the primary activities taking place on November 18, 2022, the same day as the

status conference. All flights and hotel accommodations are paid for at this time.

      Dr. Gold is making this request in good faith and without any intent to delay

these proceedings.

      Accordingly, for all the foregoing reasons, Dr. Gold respectfully requests that

this Court issue an Order granting this request to attend the November 18, 2022

hearing via telephone or video, whichever the Court prefers.

                         Local Rule 3.01(g) Certification

      I conferred with the opposing party on November 11, 2022 and am authorized

to represent the opposing party does not oppose the relief requested in this Motion.

Dated: November 11, 2022

                                       Respectfully submitted,

                                       DICKINSON WRIGHT PLLC
                                       Attorneys for Defendant Simone Gold
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                                       /s/ Angelina M .Gonzalez
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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 11th day of November 2022, I

electronically filed the foregoing document with the Clerk of the Court using

CM/ECF. I also certify that the foregoing is being served this day upon all counsel

of record or pro se parties identified in the following Service List in the manner

specified, either via transmission of Notices of Electronic Filing generated by

CM/ECF or in some other authorized manner for those counsel or parties who are

not authorized to receive electronically Notices of Electronic Filing.

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                                               /s/ Angelina M. Gonzalez, Esq.
                                              Angelina M. Gonzalez, Esq.
                                              Florida Bar No.: 98063
